      Case 2:06-cv-00905-MEF-WC Document 109 Filed 08/24/11 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

K.I., by and through her mother and next        )
friend, JENNIE I., and JENNIE I.,               )
individually,                                   )
                                                )
       Plaintiffs,                              )
                                                )
v.                                              )   CASE NO. 2:06-cv-905-MEF
                                                )
MONTGOMERY PUBLIC SCHOOLS,                      )   WO - Do Not Publish
                                                )
       Defendant.                               )

                                           ORDER

       Consistent with the memorandum opinion issued in this case, it is hereby ORDERED

that the parties submit briefing regarding any requests for attorneys’ fees by September 7,

2011. Such briefing shall contain citations to authority that support the request for attorneys’

fees, particularly in a case in which both parties have prevailed on some issues in the case

and failed to prevail on other issues. The briefing shall include an itemized statement of the

work for which each party requests attorneys’ fees, and information from the Court can

determine the reasonableness of the attorneys’ fees. The briefing shall also include any

argument regarding the Plaintiffs’ request for a declaration that they are the prevailing parties

in this action.

       Done this the 24th day of August, 2011.




                                                    /s/ Mark E. Fuller
                                                UNITED STATES DISTRICT JUDGE
